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            EXHIBIT A-5
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    DOCUMENT REDACTED
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                                    CONTRACT FOR SERVICES

          THIS AGREEMENT (the_'Agreement') is made and entered into on this
                                                                                   Fft day of
 November, 2015 among Pendrickbapilal pirtners tt, LiC with its principai
                                                                                 omc" at 1714
 Hollinwood Drive, Alexandria,-Virginia 22907, ("Client') and Abi6ty    R;;;v;t
 with its principaloffice at 284 Main Street, Dupont, PA 18e41 (,Agiency',),
                                                                                 Services t_t_C,
                                                                                 rolt"rtiu"ty
 referred to herein as "partie$',.                                           "nJ
         Headings are inserted for convenience of reference only and are not intended to be
       _                                                                                    a
 part of or to affect the meanlng or interpretation of this Agreement.

        1       ServiFg. Client shall, during the term of this Agreement, transfer certain
accounts to Agency for collection. Client agrees not to transfei any sucir account to any other
colleclion agengy while the account is in Agency's possession. Refenal of accounts tohgency
shall be at ihe Client's discretion. Client aCtrnowtedges services performed by Agency are as an
independent contractor. Client will cooperate and cause its employees to co6peiate witn
Agency in every reasonable respect to allow Agency to perform its Cuties undir this Agreement.

        2_-      Client Re,seonBi.bilities and Obligations. Client will furnish Agency with ail
inforrnation necessary to enable Agency to pe*orm tfre services under 1X;s [grdement. Client
hereby wanants and guarantees that the information fumished to Agency, inciudini, but not
limited to the identity of the debtor, the debtor's ellgibility for repaym-ent exemption,-the balance
of the aocount and the payments and credits due, ihall be accurate.

        3'     Qqmplianc,e with Law. Agency shall use reasonable efforte to effect collections
of accounts referred
                     !o it !V Client. Agency agrees that it shalt comply with all provisions of the
Fair Debt collection Practices Act fFDcpA) and applicable state statutes.

        4.     Digclaime.r o.f-)flalranties. Agency has not, does not and will not represent,
warrant, or guarantee the collections or timing of any collections of any accounts assigned to it
under this Agreement. The services shall be performed on a best etfo*s basis.

        5       Diregt PaV4qnt!. Client shall notiff Agency of all direct payments, on all refened
accounts, at time of receipt to Agency. Client understands and agrees itrit full commissions are
due and payable to Agency on such direct payments. Client furttier agrees to indemnify Agency
as outlined below for all losses caused by Client not reporting any suc-h direct payments.

 ,     6.       Escrovy.A.ccount. All funds collected by Agency on behalf of Client shall be
leposited  directly into an account and held in trust on behaf 6tttre Client and in Client's name.
Client authorizes Agenc^y to endorse negotiable instruments made payable to Ctient for
purpose$ of depositing funds in said account. Any interest earned bnfunds shall be retained
                                                                                                by
Agency.




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  _ 8.           Verifigation.Fesueets. Client acknowledges that in connection with the collection
of delinguent consumer debts, the FDCPA requires thaiAgency provide the consumer with
verification of the underlying obligation if that request is mide tb Agency, in writing, by the
consumer within 30 days of its initial communication with the consumer. Tfre nw prohinits
Agency from collecting on any obligation onco a verification request is made to Agency trom the
con$umer, until such time as said verification has boen mailed by Agency to the Consumer,
Client acknowledges that in any situation in which it does not prwide Aglncy with the reguested
verification, Agency can no longer legally attempt to collect the account. tn iucn case, Ciient
acknowledges that the Agency will return the account to Client.

         L     Account Retum. Agency shallreturn, without charge, any account placed in
eror,

         10,     lnitial Tef,m, Rgnewals and Termination. The initial term of this ,\greement wilt be
twelve (12) months ("lnitial Term") commencing the date this Agreement is executed by Agency
('the 'Effective Date"). This Agreement will be self*renewing for additional one-year terms
unless either party delivers to the other written notice of termination at least ninety (g0) days
prior to the expiration of the then cunent term. Afier the lnitlal Term, this Agreement may be
terminated by either party upon thirty (30) days prior written notice to the other without penalty.
Agency may terminate this Agreement immediately (i) upon any breach of paragraph 20 of this
Agreement or (ii) in the event Client breaches any other term or condition of this Agreement and
fails to cure such breach within ten (10) business days afier receipt of witten notice from
Agency. Termination notices shall be sent by certified or registered mail and shall be deemed
to have been given upon receipt addressed as set forth below:

          To CLIENT:                                   To AGENCY:

          Algis Penkiunas                              MichaelConflitti
          Managing Member                              President
          Pendrick CapitalPartners ll, LLC             Ability Recovery Services, LLC
          1714 Hollinwood Drive                        284 Main Street
          Alexandria, Mrginia 223A7                    Dupont, PA 18641


          Wth a capy to:                               With   a   copy to:




         11.     Eetentign of Accounts,Aft,erTermination. Any account placed with Agency prior
to the effective date of termination of this Agreement will be retained by Agency, at Agency's
option, for further collection.




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         12-   Cfedi! Eur,eau
                               Feop{inq. Client hereby authorizes Agency to report to credit
reporting bureaus all assigned collection account infoimation providid unOerth'is Agreement.
Client agrees not to report to credit reporting bureaus any coileclion account information
authorized to be.reported by A-gency. Clieni also agrees to provide Agency w1h the date of
delinquency of all assigned collection accounts as that term is defined-by tlre Fair Credit
Reporting Act ("FCRA') an-d to provide assistance to Agency in the timely resolution of disputes
conceming the accuracy of reported items.

 .      13'    Reqof,q,KeePinq. Each party shallmaintain true and conect records pertaining to
the accounts, which are_subject to this Agreement. Client is obligated to mainiain iti original-
documents and willryt fqrw3Jd its original documents to Agency. Each party, upon request and
with reasonable notice, shall have the right to audit sufficiently tb verify the a'ccolnting of att
funds and the accuracy and appropriateness of all charges.

        14,     S.-PttlPrlent Authodty-and LegalAction. Agency shall not initiate tegal action nor
accept settlement of an account, otrtside approved settlemeni guidelines, without-prior written
authorization of the client. Legal action will be brought in the Client'g name where applicabte.
Authorization by client for legal action will be on a ctaim-by-claim basis. Client agrees to
advance allcourt costs associated with the filing of legal action on an account pliced and
agrees it will be reimbursed for such costs if recovered from the debtor.

        15.       Fees. ln consideration for the collection efforts of Agency, a commission shall be
retained by Agency as defined in the SOW agreement, These fees will remain in force during
the term of this Agreement unless a change in legislation, Client's business, postage rates oi
other market conditions occur which Agency, in its sole discretion, determines wariants a fee
change. Agency will also have the right to adjust the fees in the event Client fails to disclose to
Agency, accurale and complete information relating to Client's account receivable profite, which
inforrnation, if disclosed, would have led Agency to propose a different fee or fees. ln the event
Agency changes the fee(s), Agency will provide Cllent with thirty (30) days prior written notice of
the change. lf any proposed fee increase is unacceptable to Cfient, Clieht rnay terminate the
Agreement upon thirty (30) days prior written notice to Agency.

        16.       lndefnnification. Agency hereby agrees to indemnify and to hold Client harmless
from and against alldamage, cost, loss and expense, including reasonable attorney's fees,
direc'tly resulting from Agency's collection aciivity under this contract; provided, however, Client
fgree to indemnify and hold Agency, its officers, directors, employees and agents harmless
from and against alldamage, cost, loss and expense, including r6asonable ittomey's fees
resulting from errors or omissions in conneciion with information fumished by Clieni to Agency.
Client further agree to indemnify and hold Agency, its officers, directors, employees and agenis
harmless from and against all damage, cost, loss and expense, including reasonable attorirey's
fees that may arise out of the acts of the agents or employees of either Ctient. The indemnitids
provided for herein shallsurvive the termination of this Agreement.

       17. Limitation oJ Liabilitv. N0NE or THE PART|ES WILL BE LTABLE FOR ANy
CONSEQUENTIAL, INDIRECT, SPECIAL, PUN'TIVE, INCIDENTAL OR EXEMPLARY
DAMAGES, INCLUDING WITHOUT LIMITATION LOST PROFITS OR REVENUES,
WHETHER FORESEEABLE OR UNFORESEEABLE, EVEN IF SUCH PARry HAS BEEN
ADVISED OF THE POSSIBILITY OF SUCH DAMAGE$, ARISING OUT OF THIS
AGREEMENT OR THE SERVICES PROVIDED HEREUNDER, AGENCY'S LIABILITY FOR
DAMAGES {IFANY) ARISING OUT OF OR IN CONNECTION WITH THIS AGREEMENT WILL
NOT EXCEED THE AGGREGATE FEES PAID BY CLIENT FOR THE SERVICEE.



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    . 18. Hgg'               tf Aggnc.y is required by law to collec-t any federal, state or local sales,
 excise or other similar tax or levies fom Client with respect to anamount io be paid by Client ior
 PryJcT prwided by Agency to Client under this Agreement, then (i) Agency shall bi[ such tax
to Client in the manner and for the amount required by law, (iD ctien:t sfiail pay such biiled
grnount of tax to Agengy, and.(iii) Agency shall remit such oiit6o amount otiai to the appropriate
tax authorities as required by law; provirJed horuever, that {gency shall not bill to or otherwise
attempt to collect from
                           ,Client any tax with respec,t to which Ctieni has provided Agency with an
exemption certificate, direct pay number, or other reasonabte basis for relieving Ageniy of its
responsibility to collec't such tax from Client. Client agrees to pay such taxes ai inioiced and
                          L9enc.y folany interest, penaliies or expenses {gency may incur as a
Client shall reimbursg
result of any contest initiated by Client or any failure by Client to remit tiinely'the tlxes or levies.
The parties agree that all sales related taxes levied inionnection with the services are the
obligation of the Client.

        19      Choi.ce gf Lav,v. Allcosts and expenses, including reasonable attorney fees
incurred by either party in order to remedy any breach of this Agreement will be bome by the
breaching party . This Agreement shall be construed, govemed and enforced in accordance
with the laws of the Commonwealth of Virginia.

        20.     9onfidentialiU, Client acknowledge that the systems and procedures employed
by Agency in providing the services are confidential and the sole property of Agency. Clieni
agrees not to disclose to any person or entity other than Agency any information it ieceives
 concerning the systems and procedures, Agency's business practices or other secrets or
 confidential informetion of Agency. Agency agrees not to disolose to any per$on or entity not
 affiliated with Agency any information about Client or other confidential information regaiding
 Client's accounts, except as required to provide the services under this Agreement or as
oth_erwise legally required. Without Agencfs prior written consent, Client will not in any manner
or form disclose, provide or otherwise make available to any third parties, in whole or in part,
this Agreement or any term hereof. All confidential information that Agency receives from Client
shall be returned to Client upon request or upon termination of this Agreement unless such
retum or destruc'tion is infeasible or would be inconsistent with applicable law. lt is understood
by Agency, and Client that information in an intangible or electronic format can not be removed,
erased or otherwise deleted from archivalsystems (also known as'computer or system back-
ups") but that such infonnation will continue to be protected under the confidentiality
requirements contained herein. Notwithstanding anything to the contrary contained in this
Agreement, Agency may retain an archival copy of any document for its permanent records to
the extent required by applicable law, regulation or Agency's document retention policy.

       21.      lnsurance. Agency egrees to maintain in full force and effect and at its sole
expense during the term of this Agreement, errors and omissions insurance and insuranc,e
against theff by employees, and other insurance coverage that might be customarily expected in
the appropriate amounts. Each Policy of insurance shall name Pendric* Capital Partners as
additional insured and shallnot be cencelled or amended for any cause withoutfirst giving
Pendrick Capital Partnem thirty {30) days prior written notice. A certificate of said insurance
shall be delivered to Pendrick Capital Partners on or before the commencement of this
agreement, or at least ten (10) days prior to the expiration or cancellation of any policy that is
replaced.




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 .       22. Agsig!re$          This Agreement may only be assigned with the permission of
            -
 Agency and Client.

         23.    Addeqdgm.iA$dpnda. This Agreement is inclusive of the below tisted Addendum,
 which are incorporated herein by reference:

                 2g.1    EusinessAssociatesAgreement

         24.    Entire AoqqgPe,g!. This Agreement constitutes the enlire agreement between the
 parties and cannot be modified or amended except with the written conseit
                                                                             of both parties. All
 amendments or modifications of this.\greement shall be binding upon the parties despite any
 lack of consideration so long as the same shall be in writing ani executed by each of ifre paiies
 hereto

         25.    Non WeLLgr. -lt is expressly understood and agreed that no usage of trade or
other regular practice or method of dealing between the parties hereto shall be-used to modfi,
inierpret, supplement or alter in.any manner the express terms of this Agreement or any part
hereof' No delay or failure by either party to exercise or enforce at any iime any rght oi -
provision of the Agreement shall be considered a waiver thereof or of iuch party's-right
thereafter to exercise or enforce each and every right and provision of the Agreiment.

      _ 26.  , S-eve.rabilitv.. lf any provision of this Agreement shall be held illegal, invalid or
unenforceable, in whole or in part, such provision shallbe modified to the minirium extent
necessary to make it legal, valid and enforceable, and the legality, validity and enforceabitity of
the remaining provisions are not affested thereby. This Agreement may Le executed in
counterparts, each of which shall be deemed an original and all of which together shall
constitute one and the same instrument.

        77-      Fp,rce Maieurg. ln the event that Agency shall be prevented from performing any
of its obligations due under the terms of this Agreement by an ad of God, by actd of war, ri6t, ot
civil commotion, by a-n act of State, by strikes/fire, flood or by occunence of any other event
beyond the control of Agency, Agency shall be excused from any furthEr perfoimance
hereunder untilsuch act no longer prevents Agency from performing hereunder.

       .28.      Non lnducement. Dqring the term of this Agreement, and for a period of one (1)
year thereafter, neither Agency nor Client will, without the prior wriften consent of the other,
either directly or indirectly, on its own behalf or in the servlce or on behalf of others, solicit, divert
or hire away: any person employed by the dher, whether or not such employee is a full-time,
part-time or temporary employee and whether or not such employment ispurcuant to a written
agreement, is for a deterrnined period or is at-will, provided, however, that neither party will be
resiricted in any general solicitation for employees or public advertising of employment
opp.ortunities not specifically directed at any such persons and providel furtnir that the parties
shall not be restricted in hiring any such peron who responds to any such generalsolicitation or
public advertisement.

        29'      Non QpmpEte. Dudng the term of this agreement, and for a period of one (1)
year after its termination, Agency will not engage as a third party servicer oi purchase debt irom
any client it has serviced as a result of this Agreement, nor will ii cause any iuch debt to be
purchased by any third party unlessAgency has express prior consent from pendrick Capitel
Partners ll, LLC, its sucessors and/or assigns.




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lN WTNESS WHEREOF, the parties, by their duly authorized representatives, have executed
this Agreement in duplicate on the date first above written,




Client;                                    Agency:
By:                                        By:



Name:      Peter Silva                     Narne:    Michael Conflitti

Title:     coo                             Title:    President




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